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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                            JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                     Date: August 9, 2023
Court Reporter: Kevin Carlin                                        Interpreters: n/a
Probation: n/a

CASE NO. 21-cr-00013-RM

Parties                                                             Counsel

UNITED STATES OF AMERICA,                                           Alecia Riewerts

     Plaintiff,

v.

ANDRES CUETARA,                                                     Laura Suelau

     Defendant.


                                COURTROOM MINUTES

STATUS CONFERENCE
COURT IN SESSION: 2:00 p.m.

Preliminary remarks made by the Court. Defendant is on bond and not present.

The Court advises that a warrant has been issued for the defendant’s violation of pretrial
release order, and that he will also issue a warrant for the defendant’s failure to appear at
this Status Conference. The Court holds the matter of competency is held in abeyance.

ORDERED: A warrant shall issue for the arrest of the defendant for failure to appear at
         the Status Conference set for this date as ordered by the Court.

COURT IN RECESS:            2:03 p.m.
Total in court time:        00:03
Hearing concluded.
